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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION


RAYNALDO MARKEITH SAMPY, JR.

                           Plaintiff,
vs.                                              CASE NO. 6:19-CV-580
                                                 ____________________
JONATHAN PRICE RABB, BRANDON
LAMAR DUGAS, IAN JAMES JOURNET,
SEGUS RAMON JOLIVETTE, MICHAEL
NICHOLAS DARBONNE, ASHER REAUX,
JORDAN KAMAL COLLA, and
LAFAYETTE CITY PARISH
CONSOLIDATED GOVERNMENT,
                   Defendants.


                 PLAINTIFF’S ORIGINAL COMPLAINT


TO THE HONORABLE, THE UNITED STATES DISTRICT COURT IN AND FOR THE
WESTERN DISTRICT OF LOUISIANA, LAFAYETTE DIVISION:


                                  I. INTRODUCTION

1.    This is an action for money damages brought by complainant, RAYNALDO

MARKEITH SAMPY, JR., pursuant to 42 U.S.C. 1983 and 1988, and the First,

Fourth, and Fourteenth Amendments to the United States Constitution, and under

the laws and constitution of the State of Louisiana against the LAFAYETTE CITY




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PARISH CONSOLIDATED GOVERNMENT (hereinafter referred to as “LCG”), Officer

JONATHAN PRICE RABB, BRANDON LAMAR DUGAS, Officer IAN JAMES

JOURNET, Officer SEGUS RAMON JOLIVETTE, Officer MICHAEL NICHOLAS

DARBONNE, Officer ASHER REAUX, and Officer JORDAN KAMAL COLLA. It

arises from a false dispatch by a 911 dispatcher of the Lafayette Parish

Communication District that Sampy had driven his truck into and damaged an ice

cooler machine, followed by his false arrest, police brutality, and an unlawful search

of his motor vehicle by the aforesaid Lafayette Police Department officers responding

to that dispatch. Thereafter the officers prepared and filed a false report of Simple

Battery on a Police Officer, and the subsequent arrest, confinement, and resultant

malicious prosecution for that offense. The Lafayette Parish Communication District

and the Lafayette Police Department are both part of the LCG.

                    II. JURISDICTION, VENUE, AND NOTICE

2.    Jurisdiction is founded on 28 U.S.C. 1331, 1343, 2201, 2202. Complainant

further invokes jurisdiction of this Honorable Court under 28 U.S.C. 1367 to

adjudicate claims arising under the Laws of the State of Louisiana, including, but not

limited to Article 2315, et seq, of the Louisiana Civil Code and Article I, Sections 2,

5, and 7 of the Louisiana Constitution of 1974.




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3.    This case is instituted in the United States District Court for the Western

District of Louisiana pursuant to 28 U.S.C. §1391 as the judicial district in which all

relevant events and omissions occurred and in which Defendants maintain offices

and/or reside.

                                    III. PARTIES

4.    At all times relevant hereto, Plaintiff Raynaldo Markeith Sampy Jr., was a

resident of the Western District of Louisiana and a citizen of the United States of

America.

5.    At all times relevant hereto, Defendant Jonathan Price Rabb was a citizen of

the United States and a resident of the Western District of Louisiana and was acting

under color of state law in his capacity as a law enforcement officer employed by the

Defendant LCG and/or of the Lafayette Police Department. Defendant Rabb is sued

individually.

6.    At all times relevant hereto, Defendant Brandon Lamar Dugas was a citizen

of the United States and a resident of the Western District of Louisiana and was

acting under color of state law in his capacity as a law enforcement officer employed

by the Defendant LCG and/or of the Lafayette Police Department. Defendant Dugas

is sued individually.




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7.    At all times relevant hereto, Defendant Segus Ramon Jolivette was a citizen

of the United States and a resident of the Western District of Louisiana and was

acting under color of state law in his capacity as a law enforcement officer employed

by the Defendant LCG and/or of the Lafayette Police Department. Defendant

Jolivette is sued individually.

8.    At all times relevant hereto, Defendant Michael Nicholas Darbonne was a

citizen of the United States and a resident of the Western District of Louisiana and

was acting under color of state law in his capacity as a law enforcement officer

employed by the Defendant LCG and/or of the Lafayette Police Department.

Defendant Darbonne is sued individually.

9.    At all times relevant hereto, Defendant Asher Reaux was a citizen of the

United States and a resident of the Western District of Louisiana and was acting

under color of state law in his capacity as a law enforcement officer employed by the

Defendant LCG and/or of the Lafayette Police Department. Defendant Reaux is sued

individually.

10.   At all times relevant hereto, Defendant Jordan Kamal Colla was a citizen of

the United States and a resident of the Western District of Louisiana and was acting

under color of state law in his capacity as a law enforcement officer employed by the




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Defendant LCG and/or of the Lafayette Police Department. Defendant Colla is sued

individually.

11.   Lafayette City Parish Consolidate Government, Louisiana (“LCG”), a political

subdivision of the State of Louisiana within Lafayette Parish, and is the entity having

ultimate authority, responsibility and control of and for the oversight, decisions

affecting and funding of the Lafayette Police Department and the Lafayette Parish

Communication District, including the authorization of and for the former’s force of

sworn police officers and the latter’s 911 dispatchers. As such, the LCG is ultimately

responsible for all local policies, procedures, practices, decisions and customs

employed by its law enforcement officials, supervisors and officers and 911

dispatchers of the Lafayette Parish Communication District, including also the

ultimate responsibility for the proper hiring, training and supervision of all sworn

Police Officers and 911 Dispatchers acting under their authority and the color of law.

                            IV. STATEMENT OF FACTS

12.   During the early morning of May 5, 2018, Plaintiff was sleeping seated in his

(parked and turned-off) pickup truck in the parking lot of “Sid’s One Stop”, located

at 803 Martin Luther King, Jr. Drive, Lafayette, Louisiana. In parking his vehicle Mr.

Sampy did not strike the ice cooler machine located outside and in the front of the




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convenience store. There is a yellow painted steel pipe guard rail embedded in the

concrete curb/sidewalk in front of the ice cooler. Google map photographs show

damage to the doors of said ice cooler machine as early as 2013. Further, the owner

of the convenience store has executed an affidavit that the ice cooler was damaged

before May 5, 2018 and not by Sampy on that date.

13.   Malik Glaze, a security guard employed by J&B Security LLC, d.b.a. Signal 88

Security, while in the performance of his duties at nearby apartments, during the

early morning of May 5, 2018 called 911 (Lafayette Parish Communication District)

with his cellular telephone. During the recorded call he reported that a black male

was seated in a pickup truck in front of Sid’s One Stop and “appeared to have run

into the ice cooler”, but clarified to the dispatcher he had seen the vehicle park and

had not gotten close to the truck. The Lafayette Parish Communication District

dispatcher apparently assumed that the truck had driven into the ice cooler and

dispatched officers on the basis that the truck had struck the ice cooler.

14.   Officers responding to the Lafayette Parish Communication District dispatch

to 803 Martin Luther King Jr. Drive, encountered Mr. Sampy sleeping seated upright

in his truck. The truck was parked facing the front of the convenience store. Body-

cam video (of Officer Asher Reaux) establishes that Plaintiff’s truck was not parked




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directly in front of the ice bin machine, with the front driver side bumper nearest to

the front right edge of the ice bin machine but not touching it.

15.   Officer Michael Darbonne spoke to Mr. Sampy through the open truck window,

advising inaccurately they had received a call from the alarm company reporting

that the security camera caught on video camera Sampy’s truck striking the ice bin

machine. Mr. Sampy responded by denying striking the ice cooler. Officer Darbonne

asked for identification and opened the driver’s door. As Mr. Sampy reached toward

his pocket to extract his driver’s license in compliance with Officer Darbonne’s

request, Officer Brandon Dugas wrongly interpreted Sampy’s action, grabbed

Sampy’s arm and forcibly snatched him out of his truck and threw him face down

onto the concrete parking lot. Mr. Sampy complained of Officer Dugas slamming his

head into the concrete. Officers Dugas, Asher Reaux, and Jordan Colla

immediatelypulled Sampy’s arms behind his back and put handcuffs on him while he

was prone, without probable cause to arrest nor with any reasonable basis to

suspect Sampy had committed a crime or was armed or dangerous.

16.   Officer Darbonne was standing nearby holding a flashlight and other officers

were also nearby, and none made any effort to intervene or to calm down the other

officers’ aggressive and unreasonable actions. At no point had Mr. Sampy resisted




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other than to complain about their treatment of him. Their justification was that he

had not complied quick enough to their order to get out of the truck and then reached

toward his pocket. Officer manufactured or precipitated exigent circumstances.

17.   The “body cam” audio/video recording (Officer Asher Reaux’s was only one

provided although all officers were believed to be wearing body cams linked to their

units dash cams) also depicts an officer walk between the front of the truck and the

sidewalk in front of the convenience store, establishing that the truck was not

against the ice cooler machine. It also depicts the steel pipe guard rail in front of the

ice cooler. Reaux is heard in a monotone tone to commence giving a Miranda

warning, which was never completed, after Sampy was thrown down and handcuffed

outside his truck and while being dragged away from his truck to a nearby police

vehicle.

18.   Officer Dugas dragged the handcuffed Sampy to the hood of a nearby marked

police unit. On the way Sampy is seen on video trying to lift his pants back over his

buttocks, where they had fallen during the officers’ violent extraction and unlawful

arrest. On the hood of the vehicle where Dugas was holding Sampy’s head pressed

into the hood by his hand on the back Sampy’s neck. Officer Jolivette was holding

Sampy’s left arm. Sampy tried to stabilize himself with his right hand on the hood,




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and Officer Reaux is seen to grab Sampy’s right arm. The audio recording of the

video captures Reaux saying “wrong fucking crew” (2.11 minutes), identifying these

officers as an aggressive and violent unit.

19.   Sampy asked why he was arrested and Jolivette responded that they didn’t

have to tell him. Sampy’s movement apparently offended, because Sampy was

abruptly pulled by the legs out of the hands of the restraining officers by Officer

Rabb, causing Sampy to land on the concrete chin first. This caused Sampy’s chin

to be split on the concrete parking lot (subsequently requiring stitches) and to

sustain chipping of a tooth. The blood on the parking lot in front of the police unit is

depicted at 9:36 on Reaux’s body cam.

20.   Sampy was not kicking or resisting other than to complain about his treatment

at the hands of the officers, and had been immobilized on the hood by four officers

prior to Officer Rabb’s actions. To provide cover and divert from liability for the

initiation and continuation of this unprovoked attack, Officer Rabb falsely and

outrageously yelled: “Stop kicking.” Officer Rabb yelled this to fabricate evidence on

the body cam audio, knowing it to be false and to inflame other officers.

21.   After landing on the ground, Sampy was stunned and complained about Officer

Rabb’s actions. Officer Reaux is depicted pushing Rabb out of the way. Out of the




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 view of Reaux’s body cam, Reaux then rested his body weight on a knee on Sampy’s

 neck. Rabb then mounted with his body weight on Sampy’s left knee. Mr. Sampy is

 heard to scream complaints about pain and ask repeatedly for Reaux to get off his

 neck. Reaux demands that Sampy stop moving, despite being handcuffed and

 completely immobilized by the two officers. Apparently Reax wanted Sampy to

 tolerate the ensuing pain and difficulty in breathing without moving. Reaux finally

 moved his knee from Sampy’s neck, but then moved his knee and weight to Sampy’s

 head, pining his head to the concrete.

 22.   None of the other officers standing there - Officers Dugas, Colla, Jollivette,

 Darbonne, and Ian Journet - did anything to intervene or to orally dissuade Reaux

 and Rabb from the violence to Sampy. A fire truck drove by and Reaux finally got

 off Sampy and started questioning him, apparently to give plausible justification for

 his actions. Sampy was never a threat nor resisting. None of the officers took any

 steps to protect the Plaintiff against the other officer's use of excessive force, despite

 being in a position and having a duty to do so.

 23.   At 3:26 on Reaux’s body cam video, Reaux asked Sampy about the contents of

 a cup in his truck’s center console, and Sampy replied “spit, you can go look.”

 Thereupon Officers Reaux, Darbonne, and Dugas not only checked the cup, which




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 Sampy had consented to, but searched the entire interior of Sampy’s truck without

 search warrant, consent, exigent circumstances or incident to arrest (since Sampy

 had been removed and was restrained some distance away from his pickup truck).

 The sound on Reaux’s body cam then was muted, but in the background is shown

 that Officer Rabb again mounted Sampy with his knees in his upper back, and as

 Sampy screamed in complaint Officer Dugas can be seen smiling. Sampy overheard

 Officer Jollivette finally tell Rabb that they didn’t have anything to charge Sampy

 with. Rabb falsely responded “he kicked me.” Sampy, who weighs 150 lbs., lost

 consciousness for a period of time. His short term memory was affected by his head

 being slammed or pressed repeatedly into the concrete and police vehicle hood.

 24.   No where in the Reaux body cam audio/video recording does any officer assert

 detecting an odor of alcoholic beverage about the person of Mr. Sampy or his vehicle.

 Apparently in an effort to justify to their actions retroactively, the officers called a

 DUI officer to scene, Robert Mitcham. Officer Mitcham’s body cam audio records his

 initial statement that there was no odor of alcoholic beverage about Sampy’s person.

 25.   In their angst to divert from liability for and cover up their viciously brutal

 attack on a sleeping person for which they lacked probable cause to arrest, and

 having heard Mr. Sampy’s threats to have their jobs for their assault on his person




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 and constitutional rights, Defendant officers next conspired and/or acted in concert

 to have Plaintiff falsely charged and prosecuted for criminal simple battery on a

 police officer.

 26.    All of the above-described acts were done by the Defendants intentionally,

 knowingly, willfully, wantonly, maliciously and/or recklessly in disregard for Mr.

 Sampy’s federally and state protected rights, and were done while acting under color

 of state law.

 27.    On information and belief, Defendant officers may also have a history of citizen

 complaints and/or discipline.

 28.    As a direct and proximate result of the wrongful conduct of each of the

 Defendants, Plaintiff has been substantially injured. These injuries include, but are

 not limited to, loss of constitutional federal and state rights, physical injuries,

 impairments and disfigurement, great pain and emotional distress, and/or

 aggravation of pre-existing conditions, and ongoing special damages for

 medically/psychologically related treatment caused by the unconstitutional and

 moving forces concerted conduct of all these Defendants.

 29.    Plaintiff also continues to suffer ongoing emotional distress, with significant

 PTSD type symptoms, including sadness, anxiety, stress, anger, depression,




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 frustration, sleeplessness, nightmares and flashbacks from being mistreated by law

 enforcement like this.

 30.   Plaintiff is also entitled to punitive damages on all of his claims against the

 individual Defendants personally to redress their willful, malicious, wanton, reckless

 and fraudulent conduct.

                                  V. CLAIMS FOR RELIEF

                         FIRST CLAIM FOR RELIEF
 42 U.S.C. § 1983 – Unlawful Arrest and False Imprisonment in violation of the
                              Fourth Amendment
     (Against Rabb, Reaux, Journat, Jolivette, Colla, Darbonne and Dugas)

 Plaintiff Sampy hereby incorporates all other paragraphs of this Complaint as

 if fully set forth herein.

 31.   42 U.S.C. § 1983 provides that:

       Every person, who under color of any statute, ordinance, regulation,
       custom or usage of any state or territory or the District of Columbia
       subjects or causes to be subjected any citizen of the United States
       or other person within the jurisdiction thereof to the deprivation of
       any rights, privileges or immunities secured by the constitution and
       law shall be liable to the party injured in an action at law, suit in
       equity, or other appropriate proceeding for redress . . .

 32.   Plaintiff Sampy in this action is a citizens of the United States and all of

 the individual police officer Defendants to this claim are persons for purposes

 of 42 U.S.C. § 1983.




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 33.     All individual Defendants to this claim at all times relevant hereto, were

 acting under the color of state law in their capacity as Lafayette Police officers

 and their acts or omissions were conducted within the scope of their official

 duties    or   employment.       Similarly,   the   pertinent   Lafayette   Parish

 Communications District 911 dispatcher was acting within the scope of her

 official duties or employment.

 34.     At the time of the complained of events, Plaintiff Sampy had a clearly

 established constitutional right under the Fourth Amendment to be secure in

 his persons and property from unreasonable search and seizure.

 35.     Any reasonable police officer knew or should have known of these rights

 at the time of the complained of conduct as they were clearly established at that

 time.

 36.     The Defendant officers’ actions and omissions, as well as those of the 911

 dispatcher of the Lafayette Parish Communication District, and the search of

 Sampy’s vehicle, as described herein, were objectively unreasonable in light of

 the facts and circumstances confronting them and violated these Fourth

 Amendment rights of the Plaintiff.




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 37.      Defendant officers' arrests, confinements and searches, as described

 herein, were also malicious and/or involved reckless, callous, and deliberate

 indifference to Plaintiff’s federally protected rights.

 38.      None of the Defendant officers took reasonable steps to protect Plaintiff from

 the objectively unreasonable arrests, searches, or false imprisonment by other

 Defendant officers. They are each therefore liable for the injuries and damages

 resulting from the objectively unlawful arrest, search, and false imprisonment of each

 other officer.

 39.      These individual Defendants are not entitled to qualified immunity for the

 complained of conduct.

 40.      As a proximate result of Defendants' unlawful conduct, Plaintiff Sampy

 has suffered actual physical and emotional injuries, and other damages and

 losses as described herein entitling them to compensatory and special

 damages, in amounts to be determined at trial. As a further result of the

 Defendants' unlawful conduct, Plaintiff Sampy has incurred special damages,

 including medically related expenses and may continue to incur further medical

 and other special damages related expenses, in amounts to be established at

 trial.




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 41.    Plaintiff Sampy is further entitled to attorneys' fees and costs pursuant

 to 42 U.S.C. §1988, pre-judgment interest and costs as allowable by federal law.

 There may also be special damages for lien interests.

 42.    In addition to compensatory, economic, consequential and special

 damages, Plaintiff is entitled to punitive damages against each of the

 individually named Defendants under 42 U.S.C. § 1983, in that the actions of

 each of these individual Defendants have been taken maliciously, willfully or

 with a reckless or wanton disregard of the constitutional rights of Plaintiff

 Sampy.

                           SECOND CLAIM FOR RELIEF
               42 U.S.C. § 1983 – Excessive Force in violation of the
                       Fourth and Fourteenth Amendments
       (Against Rabb, Reaux, Journat, Jolivette, Colla, Darbonne and Dugas)

 43.    Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully

 set forth herein.

 44.    Plaintiff in this action is a citizen of the United States and all of the individual

 police officer Defendants to this claim are persons for purposes of 42 U.S.C. § 1983.

 45.    All individual Defendants to this claim, at all times relevant hereto, were acting

 under the color of state law in their capacity as Lafayette Police Department officers




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 and their acts or omissions were conducted within the scope of their official duties or

 employment.

 46.    At the time of the complained of events, Plaintiff had a clearly established

 constitutional right under the Fourth Amendment to be secure in his person from

 unreasonable seizure through excessive force.

 47.    Plaintiff also had the clearly established Constitutional right under the

 Fourteenth Amendment to bodily integrity and to be free from excessive force by law

 enforcement.

 48.    Any reasonable police officer knew or should have known of these rights at the

 time of the complained of conduct as they were clearly established at that time.

 49.    Defendants Reaux, Dugas, and Rabb’s actions and use of force, as described

 herein, were objectively unreasonable in light of the facts and circumstances

 confronting them and violated these Fourth Amendment rights of Plaintiff.

 50.    Defendants Reaux, Dugas, and Rabb’s actions and use of force, as described

 herein, were also malicious and/or involved reckless, callous, and deliberate

 indifference to Mr. Sampy’s federally protected rights. The force used by these

 Defendant officers shocks the conscience and violated these Fourteenth Amendment

 rights of Plaintiff.




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 51.   Defendants Reaux, Dugas, and Rabb’s unlawfully seized Mr. Sampy by means

 of objectively unreasonable, excessive and conscious shocking physical force, thereby

 unreasonably restraining Mr. Sampy of his freedom.

 52.   The force used constituted deadly force in that it could have caused death and

 did cause serious bodily injury.

 53.   None of the Defendant officers took reasonable steps to protect Plaintiff from

 the objectively unreasonable and conscience shocking excessive force of other

 Defendant officers or from the excessive force of later responding officers despite

 being in a position to do so. They are each therefore liable for the injuries and

 damages resulting from the objectively unreasonable and conscience shocking force

 of each other officer.

 54.   Defendants engaged in the conduct described by this Complaint willfully,

 maliciously, in bad faith, and in reckless disregard of Mr. Sampy’s federally and state

 protected constitutional rights.

 55.   They did so with shocking and willful indifference to Plaintiff’s rights and their

 conscious awareness that they would cause Plaintiff severe physical and emotional

 injuries.




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 56.    The acts or omissions of all individual Defendants were moving forces behind

 Plaintiff’s injuries.

 57.    These individual Defendants acted in concert and joint action with each other.

 58.    The acts or omissions of Defendants as described herein intentionally deprived

 Plaintiff of his constitutional rights and caused him other damages.

 59.    These individual Defendants are not entitled to qualified immunity for the

 complained of conduct.

 60.    As a proximate result of Defendants’ unlawful conduct, Plaintiff has suffered

 actual physical and emotional injuries, and other damages and losses as described

 herein entitling him to compensatory and special damages, in amounts to be

 determined at trial. As a further result of the Defendants’ unlawful conduct, Plaintiff

 has incurred special damages, including medically related expenses and may

 continue to incur further medically and other special damages related expenses, in

 amounts to be established at trial.

 61.    Plaintiff is further entitled to attorneys’ fees and costs pursuant to 42 U.S.C.

 §1988, pre-judgment interest and costs as allowable by federal law. There may also

 be special damages for lien interests.




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 62.    In addition to compensatory, economic, consequential and special damages,

 Plaintiff is entitled to punitive damages against each of the individually named

 Defendants under 42 U.S.C. § 1983, in that the actions of each of these individual

 Defendants have been taken maliciously, willfully or with a reckless or wanton

 disregard of the constitutional rights of Plaintiff.

                             THIRD CLAIM FOR RELIEF
         42 U.S.C. § 1983 – Retaliation in Violation of the First Amendment
       (Against Rabb, Reaux, Journat, Jolivette, Colla, Darbonne and Dugas)

 63.    Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully

 set forth herein.

 64.    Plaintiff in this action is a citizen of the United States and all of the individual

 police officer Defendants to this claim are persons for purposes of 42 U.S.C. § 1983.

 65.    All individual Defendants to this claim, at all times relevant hereto, were acting

 under the color of state law in their capacity as Denver police officers and their acts

 or omissions were conducted within the scope of their official duties or employment.

 66.    At the time of the complained of events, Plaintiff the clearly established

 constitutional right to be free from retaliation for the exercise of protected speech.

 67.    Any reasonable police officer knew or should have known of this right at the

 time of the complained of conduct as it was clearly established at that time.




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 68.   Mr. Sampy exercised his constitutionally protected right to question law

 enforcement and/or engaged in protected speech related to the constitutional rights

 of citizens with respect to physical mistreatment, arrests, searches of their property

 by the police and objectionable police conduct.

 69.   Retaliatory animus for Mr. Sampy’s exercise of his constitutionally protected

 right to question Lafayette Police officers regarding the scope of their legal authority

 to arrest him with violence and to continue to use violence to his person was a

 substantially motivating factor in the excessive force used by individual officers.

 70.   The excessive force used against Plaintiff in retaliation for his protected

 conduct would deter a person of ordinary firmness from continuing to engage in the

 protected conduct.

 71.   All of these Defendant officers participated in this use of force as a means of

 retaliation for his protected speech and none of the Defendant officers took

 reasonable steps to protect Plaintiff from this retaliation for the protected speech.

 They are each therefore liable for the injuries and damages resulting from the

 objectively unreasonable and conscience shocking force of each other officer.




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 72.    Defendants engaged in the conduct described by this Complaint willfully,

 maliciously, in bad faith, and in reckless disregard of Mr. Sampy’s federally and

 protected constitutional rights.

 73.    The acts or omissions of all individual Defendants were moving forces behind

 Plaintiff’s injuries.

 74.    These individual Defendants acted in concert and joint action with each other.

 75.    The acts or omissions of Defendants as described herein intentionally deprived

 Plaintiff of his constitutional and statutory rights and caused him other damages.

 76.    Defendants are not entitled to qualified immunity for the complained of

 conduct.

 77.    As a proximate result of Defendants’ unlawful conduct, Plaintiff has suffered

 actual physical and emotional injuries, and other damages and losses as described

 herein entitling him to compensatory and special damages, in amounts to be

 determined at trial. As a further result of the Defendants’ unlawful conduct, Plaintiff

 has incurred special damages, including medically related expenses and may

 continue to incur further medically and other special damages related expenses, in

 amounts to be established at trial.




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 78.     Plaintiff is further entitled to attorneys’ fees and costs pursuant to 42 U.S.C.

 §1988, pre-judgment interest and costs as allowable by federal law. There may also

 be special damages for lien interests.

 79.     In addition to compensatory, economic, consequential and special damages,

 Plaintiff is entitled to punitive damages against each of the individually named

 Defendants under 42 U.S.C. § 1983, in that the actions of each of these individual

 Defendants have been taken maliciously, willfully or with a reckless or wanton

 disregard of the constitutional rights of Plaintiff.

                           FOURTH CLAIM FOR RELIEF
       42 U.S.C. § 1983 – Malicious Prosecution in violation of the Fourth and
                              Fourteenth Amendments
       (Against Rabb, Reaux, Journat, Jolivette, Colla, Darbonne and Dugas)

 80.     Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully

 set forth herein.

 81.     Plaintiff in this action is a citizen of the United States and all of the individual

 police officer Defendants to this claim are persons for purposes of 42 U.S.C. § 1983.

 82.     All individual Defendants to this claim, at all times relevant hereto, were acting

 under the color of state law in their capacity as Denver police officers and their acts

 or omissions were conducted within the scope of their official duties or employment.




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 83.   At the time of the complained of events, Plaintiff had the clearly established

 constitutional right to be free from malicious prosecution without probable cause

 under the Fourth Amendment and in violation of due process under the Fourteenth

 Amendment.

 84.   Any reasonable police officer knew or should have known of these rights at the

 time of the complained of conduct as they were clearly established at that time.

 85.   Individual Defendants violated Mr. Sampy’s Fourth and Fourteenth Amendment

 rights to be free from malicious prosecution without probable cause and without due

 process when they worked in concert to secure false charges against him, resulting

 in his unlawful confinement and prosecution.

 86.   Individual Defendants conspired and/or acted in concert to institute, procure

 and continue a criminal proceeding for simple battery upon a police officer against

 Mr. Sampy without probable cause.

 87.   Defendants engaged in the conduct described by this Complaint willfully,

 maliciously, in bad faith, and in reckless disregard of Mr. Sampy’s federally protected

 constitutional rights.




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 88.    The procurement of prosecution against Mr. Sampy for the known to be false

 allegations of simple battery on a police officer -Officer Rabb - were malicious,

 shocking, and objectively unreasonable in the light of the circumstances.

 89.    The acts or omissions of all individual Defendants were moving forces behind

 Plaintiff’s injuries.

 90.    These individual Defendants acted in concert and joint action with each other.

 91.    The acts or omissions of Defendants as described herein intentionally deprived

 Plaintiff of his constitutional and statutory rights and caused him other damages.

 92.    Defendants are not entitled to qualified immunity for the complained of

 conduct.

 93.    As a proximate result of Defendants’ unlawful conduct, Plaintiff has suffered

 actual physical and emotional injuries, and other damages and losses as described

 herein entitling him to compensatory and special damages, in amounts to be

 determined at trial. As a further result of the Defendants’ unlawful conduct, Plaintiff

 has incurred special damages, including medically related expenses and may

 continue to incur further medically or other special damages related expenses, in

 amounts to be established at trial.




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 94.   Plaintiff is further entitled to attorneys’ fees and costs pursuant to 42 U.S.C.

 §1988, pre-judgment interest and costs as allowable by federal law. There may also

 be special damages for lien interests.

 95.   In addition to compensatory, economic, consequential and special damages,

 Plaintiff is entitled to punitive damages against each of the individually named

 Defendants under 42 U.S.C. § 1983, in that the actions of each of these individual

 Defendants have been taken maliciously, willfully or with a reckless or wanton

 disregard of the constitutional rights of Plaintiff.


                    LOUISIANA CLAIMS FOR RELIEF
   (Against All Defendants, including the Lafayette City Parish Consolidated
                                 Government)

 96.   Plaintiff Sampy realleges and reargues all the allegations herein above, and

 assert violations of Louisiana law relative to constitutional torts, intentional torts and

 negligence by the Lafayette Parish Communications District 911 dispatcher and the

 Defendant officers of the Lafayette Police Department, all of whom were acting within

 the course and scope of their employment by the Lafayette City Parish Consolidated

 Government. In addition, Defendants are liable to Plaintiff for false arrest, unlawful

 search, false imprisonment, intentional infliction of emotional distress, and malicious

 prosecution.




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 97.   No Defendant officer nor the Lafayette Parish Communications District 911

 dispatcher had probable cause justifying the arrest of Plaintiff Sampy for damage to

 the ice cooler or any other offense when he was forcibly extracted from his pickup,

 thrown face first to the concrete parking lot, and handcuffed, or to search his truck

 for any evidence that might justify retroactively his arrest and incarceration, nor did

 any Defendant have any probable cause to arrest or prosecute the Plaintiff Sampy at

 any time for Simple Battery of a Police Officer folowing that initial taint.

 98.   The Defendants to these claims at all times relevant hereto were acting under

 the color of state law.

 99.   Plaintiff had the following clearly established rights at the time of the

 complained of conduct:

       a.     the right to be secure in his person from unreasonable seizure through
              excessive force, unlawful arrest, and unlawful search under Article 1,
              Section 5 of the Louisiana Constitution of 1974;

       b.     the right to bodily integrity and to be free from excessive force by law
              enforcement under Article 1, Section 2 of the Louisiana Constitution of
              1974;

       c.     the right to exercise his constitutional rights of free speech under the
              Article 1, Section 7 of the Louisiana Constitution of 1974 without
              retaliation;

       d.     the right to be afforded due process of law by police under Article 1,
              Section 2 of the Louisiana Constitution of 1974; and,




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         e.   the right to be free from malicious prosecution under Article 1, Sections
              2 and 5 of the Louisiana Constitution of 1974.

 100. Any reasonable police officer knew or should have known of these rights

 at the time of the complained of conduct as they were clearly established at that

 time.

 101. Defendants are not entitled to qualified immunity for the complained of conduct

 relating to any of the below Louisiana Constitutional Torts..


                       FIFTH CAUSE OF ACTION
              (LOUISIANA TORT - MALICIOUS PROSECUTION)

 102. Defendants are liable for malicious prosecution for the commencement of a

 criminal prosecution in the City Court of Lafayette, Louisiana against Plaintiff

 Sampy, without probable cause for arrests or searches and based on a fase report by

 Officer Rabb. Defendants' actions in their seeking or allowing the initiation of

 malicious prosecutions of the Plaintiff caused him to suffer harm and distress.

 103. A damages remedy here is necessary to effectuate the purposes of Article 1,

 Sections 2 and 5 of the Louisiana Constitution, and appropriate to ensure full

 realization of Plaintiff’s rights under those provisions.




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                   SIXTH CAUSE OF ACTION
   (LOUISIANA TORT - INTENTIONAL INFLICTION OF EMOTIONAL
                          DISTRESS)

 104. The acts or omissions of these Defendants, as described herein, deprived

 Mr. Sampy of his constitutional and statutory rights and caused him other damages.

 105. As a direct and proximate result of the intentional acts of the Defendants

 described herein, carried out in reckless disregard, falsity and/or without sufficient

 factual information, Plaintiff suffered economic damage including loss of gainful

 employment, was caused physical injury, psychiatric distress, and continues to suffer

 from severe and disabling shock, distress, anguish, sorrow, depression and loss of

 enjoyment of life.

 106. The aforesaid physical and psychological injuries sustained by Plaintiff Sampy

 were caused wholly by reason of the intentional, reckless and/or negligent acts of the

 Defendants as described herein.

 107. The Defendants acted maliciously and with specific intent to oppress and harm

 Plaintiff and/or with reckless disregard of the consequences of their actions and

 ommissions, and as a result Plaintiff are entitled to damages in an amount to be

 proven at trial.




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                  SEVENTH CAUSE OF ACTION
      (LOUISIANA TORT - FALSE ARREST AND IMPRISONMENT)

 108. As a pendent state cause of action, at all times material and relevant herein,

 Defendants, by acts and/or omissions and under color of state law, willfully detained

 Plaintiff Sampy without his consent and without authority of the law. Plaintiff pleads

 false imprisonment and false arrest as Defendants had the intent to arrest and

 confine him as soon as he was forcibly extracted from his pickup, and carried out the

 intent by putting him in positions so that he could not move, let alone leave. Such

 confinement resulted in harmful detention, without consent, and without authority of

 the law.

 109. A damages remedy here is necessary to effectuate the purposes of Article 1,

 Section 5 of the Louisiana Constitution, and appropriate to ensure full realization of

 Plaintiff’s rights under those provisions.

                        EIGHTH CAUSE OF ACTION
            (LOUISIANA CONSTITUTIONAL TORT - DUE PROCESS)

 110. The policies and conduct of the Defendants violated Plaintiff’s right to not be

 deprived of life, liberty, or property, except by due process of law in Defendants,

 acting under color of law, violated Plaintiff’s rights pursuant to Article 1, Section 2 of

 the Louisiana Constitution of 1974.




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 111. A damages remedy here is necessary to effectuate the purposes of Article 1,

 Section 2 of the Louisiana Constitution, and appropriate to ensure full realization of

 Plaintiff’s rights under those provisions.

 112. As a direct result of Defendants’ unlawful conduct, Plaintiff has suffered actual

 physical and emotional injuries, and other damages and losses as described herein

 entitling him to compensatory and special damages, in amounts to be determined at

 trial. As a further result of the Defendants’ unlawful conduct, Plaintiff has incurred

 special damages, including medically related expenses and may continue to incur

 further medically or other special damages related expenses, in amounts to be

 established at trial.

                     NINTH CAUSE OF ACTION
        (LOUISIANA CONSTITUTIONAL TORT - UNREASONABLE
                    SEARCHES AND SEIZURES)

 113. The policies and conduct of the Defendants violated Plaintiff Sampy’s right to

 be free of unreasonable searches and seizures in that Defendants, acting under color

 of law, in searching his pickup truck beyond the scope of his consent, violated

 Plaintiff’s rights pursuant to Article 1, Section 5 of the Louisiana Constitution.




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 114. A damages remedy here is necessary to effectuate the purposes of Article 1,

 Section 5 of the Louisiana Constitution, and appropriate to ensure full realization of

 Plaintiff’s rights under those provisions.

 115. Defendants' actions, by way of their extreme and outrageous actions,

 intentionally or recklessly caused both Plaintiff Sampy to suffer severe emotional

 distress.

                         RESPONDEAT SUPERIOR
             LOUISIANA CIVIL CODE ARTICLES 2315, 2322 & 2317.1

 116. Plaintiff repeats and re-alleges the allegations in all the proceeding

 paragraphs as if set forth fully herein.

 117. The damages to and the injuries of DESMOND DEMARIO FRAZIER are a

 result of the sole, combined and/or solidary fault, vicarious liability, strict liability

 and/or negligence of Defendants and/or joint tortfeasor(s) and/or his/its/their or as

 principal(s), employer(s), agent(s), representative(s), servant(s), employee(s),

 associate(s), parent(s), subsidiary(ies), lessor(s), lessee(s), insured(s) and/or

 insurer(s) in violation of La. Civil Code Art. 2315, Art. 2322 and Art. 2317.1. As a

 result of the sole, combined and/or solidary fault, vicarious liability, strict liability

 and/or negligence of Defendants, Raynaldo Sampy, suffered general and/or special

 and/or punitive damages, including but not limited to physical pain and suffering,




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 mental anguish and/or distress, great inconvenience, frustration, fear,

 embarrassment, humiliation, loss of enjoyment of life and society, and other

 damages that will be shown at the trial hereof.

                                  VI. JURY DEMAND

 118. Plaintiff Sampy request a trial by jury pursuant to Rule 38 of the Federal

 Rules of Civil Procedure.
                                    VII. DAMAGES

 119. Plaintiff respectfully requests all relief to which Plaintiff Sampy is entitled to

 as a matter of law, that Defendants be held jointly, severally, and solidarily liable

 for all damages suffered by state and federal violations as set forth herein and as

 authorized by law, including but not limited to expenses incurred, attorneys' fees,

 costs, interest, and punitive damages, as well as all general and equitable relief

 pursuant to 42 U.S.C. §1983 and §1988. Plaintiff is further entitled to attorneys’

 fees and costs pursuant to 42 U.S.C. §1988, pre-judgment interest and costs as

 allowable by federal law. There may also be special damages for lien interests.




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                             VIII. PRAYER FOR RELIEF

       Plaintiff prays that this Court enter judgment for the Plaintiff and against

 each of the Defendants and grant:

       A.     compensatory and consequential damages, including damages for
              emotional distress, humiliation, loss of enjoyment of life, and other
              pain and suffering on all claims allowed by law in an amount to be
              determined at trial;

       B.     economic losses on all claims allowed by law;

       C.     special damages in an amount to be determined at trial;

       D.     punitive damages on all claims allowed by law against individual
              Defendants and in an amount to be determined at trial;

       E.     attorneys’ fees and the costs associated with this action under 42
              U.S.C. § 1988, including expert witness fees, on all claims allowed by
              law;

       F.     pre- and post-judgment interest at the lawful rate; and,
       G.     any further relief that this court deems just and proper, and any other
              appropriate relief at law and equity.




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       WHEREFORE, the Plaintiff, RAYNALDO MARKEITH SAMPY, JR.,

 respectfully requests that this Honorable Court enter judgment in his favor and

 against Defendants for all relief to which he is entitled as a matter of law, and that

 Defendants be held jointly, severally, and solidarily liable for all damages,

 attorneys' fees, costs, pre-judgment interest, post-judgment interest, punitive

 damages, as well as all general and equitable relief under available under

 Louisiana and federal law.

 Dated:    May 4, 2019                  Respectfully Submitted,

                                        By: /s/Brett L. Grayson
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